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 8                                UNITED STATES DISTRICT COURT

 9                        FOR THE EASTERN DISTRICT OF CALIFORNIA
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11      RALPH COLEMAN, et al.,                                No. 2:90-cv-0520 KJM SCR P

12                               Plaintiffs,                  ORDER
13             v.
14      GAVIN NEWSOM, et al.,
15
                                 Defendants.
16

17            This matter came on for a further hearing by videoconference on the court’s July 12, 2024

18     order to show cause why it should not initiate proceedings to appoint a temporary receiver in this

19     action, ECF No. 8330. Aug. 21, 2024 Minute Order, ECF No. 8362. At hearing, the court
20     informed the parties of its intention to appoint an outside technical advisor to advise and help the

21     court with specific questions arising from the parties’ joint proposal to the court to appoint the

22     current receiver in Plata v. Newsom, Case No. 01-1351 JST (N.D. Cal.), J. Clark Kelso, as

23     temporary receiver in this action, ECF No. 8347. The court’s plan assumes the Plata Receiver

24     would entertain appointment in this case. The court has communicated with the presiding judge

25     in Plata, Judge Tigar, who at this point has expressed no objection to this court’s considering the

26     possibility. The court has tasked the Special Master with communicating with the Plata Receiver

27     to determine whether he would entertain appointment and is awaiting a report back from the

28     Special Master.

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 1             This court has inherent authority to appoint an outside technical advisor in “rare cases”

 2     requiring specialized assistance. Ass’n of Mexican-Am. Educators v. State of California,

 3     231 F.3d 572, 590 (9th Cir. 2000) (en banc) (AMAE); see also A&M Records, Inc. v. Napster, Inc.,

 4     284 F.3d 1091, 1096-1097 (9th Cir. 2002) (district court did not abuse discretion in appointing

 5     technical advisor to “assist in evaluating Napster’s compliance” with preliminary injunction);

 6     Reilly v. United States, 863 F.2d 149, 156 (1st Cir. 1988) (“appointment of technical advisor must

 7     arise out of some cognizable judicial need for specialized skills”).

 8             In considering this appointment, the court follows the safeguards set out in Judge

 9     Tashima’s dissent in AMAE, which have set the standard for guiding courts in designating

10     technical advisors. See Federal Trade Com’n v. Enforma Natural Products, Inc., 362 F.3d 1204,

11     1215 (9th Cir. 2004). To that end, if the Plata Receiver is prepared to entertain serving as a

12     temporary receiver in this case, the court has informed the parties of its intention to appoint Eric

13     Douglas, founder and senior partner of Leading Resources, Inc., as a neutral outside technical

14     advisor. A copy of Mr. Douglas’s resume is attached to this order. As explained at hearing, the

15     parties are granted until close of business on August 23, 2004 to file objections to the

16     appointment of Mr. Douglas. Any party may, if necessary, seek an extension of time to file those

17     objections on a showing of substantial cause. At hearing, the parties expressed no concerns about

18     the proposed appointment, but if necessary the court will address any “allegations of bias,

19     partiality, or lack of qualification” concerning Mr. Douglas if raised by any party. Enforma,

20     362 F.3d at 1215.

21             As the court explained at hearing, the court intends to appoint Mr. Douglas to assist in

22     applying relevant organizational principles to the designation of a receiver in this case and,

23     particularly, in assessing objectively whether the Plata Receiver can serve as a separate and

24     independent receiver in this action. The court intends to seek Mr. Douglas’s assistance in

25     understanding the present organizational structures of the Plata Receivership, also known as

26     California Correctional Health Care Services, the California Department of Corrections and

27     Rehabilitation [CDCR] Statewide Mental Health Program, and the Coleman Special Mastership;

28     /////

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1      whether and how those organizational structures would need to be adapted if Mr. Kelso were

2      appointed as Receiver to effect the Coleman remedy as ordered by the court.

3             The court will inform Mr. Douglas that his advice must be based only on information

4      provided by the court, court staff and as needed the Special Master, as well as from the record in

5      Plata and Coleman and his professional expertise. The court will, at the end of his appointment,

 6     provide the parties with a summary of the nature of the communications between the court and

 7     Mr. Douglas and the nature of his advice, while the details of the communications will be

 8     maintained as confidential as between the court and a trusted advisor.

 9            The court anticipates the appointment will be for a limited period of up to ten hours. Mr.
10     Douglas’ hourly rate is $375.00 per hour and the cost of his time will be borne by defendants.

11            In aid of this appointment, as directed at hearing, defendants shall file current

12     organizational charts for CCHCS and for CDCR’s Statewide Mental Health Program, as well as

13     any other organizational chart for the Plata Receivership, on or before noon on August 22, 2024.

14            Finally, also as discussed at hearing, on or before August 28, 2024 at 4:00 p.m. the parties

15     shall file declarations signed under penalty of perjury setting forth their respective positions

16     regarding adherence to the law of the case in this action, specifically with respect to the remedial

17     plans for this action and the requirements for implementation of those plans that have been

18     established by court order.

19            In accordance with the above, IT IS HEREBY ORDERED that:
20            1. The parties are granted until 4:00 p.m. on August 23, 2004 to file objections to the

21                 appointment of Mr. Douglas;

22            2. On or before 12:00 noon on August 22, 2024, defendants shall file the current

23                 organizational charts for California Correctional Health Care Services and the

24                 California Department of Corrections and Rehabilitation Statewide Mental Health

25                 Program; and

26            3.   On or before 4:00 p.m. on August 28, 2024, the parties shall file declarations signed

27                 under penalty of perjury setting forth their respective positions regarding adherence to

28                 the law of the case in this action, specifically with respect to the remedial plans for this

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1              action and the requirements for implementation of those plans that have been

2              established by court order.

3              IT IS SO ORDERED.

4      DATED: August 22, 2024.




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